Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 1 of 18 PAGEID #: 1




                                                     3:20-MJ-506
                                                     Magistrate Judge Michael J. Newman
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 2 of 18 PAGEID #: 2




                                               3:20-MJ-506
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 3 of 18 PAGEID #: 3
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 4 of 18 PAGEID #: 4
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 5 of 18 PAGEID #: 5
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 6 of 18 PAGEID #: 6
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 7 of 18 PAGEID #: 7
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 8 of 18 PAGEID #: 8
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 9 of 18 PAGEID #: 9
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 10 of 18 PAGEID #: 10
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 11 of 18 PAGEID #: 11
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 12 of 18 PAGEID #: 12
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 13 of 18 PAGEID #: 13
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 14 of 18 PAGEID #: 14
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 15 of 18 PAGEID #: 15
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 16 of 18 PAGEID #: 16
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 17 of 18 PAGEID #: 17
Case: 3:20-mj-00506-MJN Doc #: 1 Filed: 10/23/20 Page: 18 of 18 PAGEID #: 18
